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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 8:03CR446
          v.                        )
                                    )
JOSE MARTIN PANDURO-AVENA,          )
                                    )                    ORDER
                Defendant.          )
                                    )



    On the court’s own motion,

    IT IS ORDERED:

     1. The change of plea hearing is continued from June 16 in
Omaha to June 27, 2005 at 9:00 a.m. before the undersigned
magistrate judge in Courtroom 2, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     DATED this 15th day of June, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
